
A Debtor in confinement under a magistrates execution, petitioned for his discharge under the insolvent laws. But he was remanded, because he had not applied before the adjournment; The Court observing, that it was already easy enough for debtors to get out of jail, (a)

 The proceedings in this case were under the act of 1729-30 (1 Sm. Laws, 181). Mr. Dallas afterwards, in a note to his edition of the State Laws (vol. 1, p. 258), stated the point thus, “A debtor in confinement under a magistrate’s execution, presented his petition, after the court had fixed the day for hearing insobent debtors, and had adjourned; but the application was held to be too late.” See Hendorson v. Allen, post, p. 149.

